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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


IN RE:                                               )     CHAPTER 11
                                                     )
A-1 EXPRESS DELIVERY SERVICE, INC.,                  )     CASE NO. 17-52865-pmb
                                                     )
                      Debtor.                        )
                                                     )


  STIPULATION AMENDING LIST OF CONTRACTS APPENDED TO EMERGENCY
 MOTION FOR AUTHORITY TO ASSUME CONTRACTS AND UNEXPIRED LEASES
        TO ADD DONLEN CONTRACTS, AS CONSENSUALLY MODIFIED

       THIS MATTER having come before the Court by way of Debtors’ Emergency Motion for

Authority to Sell Assets Free and Clear of Liens, to Assume and Assign Executory Contracts and

for other relief [Docket No. 53] (the “Sale Motion”) and the Debtor’s Emergency Motion to

Assume Executory Contracts and Leases [Docket No. 60] (the “Cure Motion”); and Donlen

Corporation (“Donlen”), A-1 Express Delivery Service, Inc. (the “Debtor”) and the proposed

purchaser Greenwich Logistics LLC (the “Purchaser”) having reached an agreement whereby the

Debtor shall assume and assign the Donlen Contracts (defined below), as modified herein, to the

Purchaser pursuant to 11 U.S.C. § 365; and the Court having fully considered the pleadings

submitted, and the stipulations of the Debtor, Greenwich and Donlen, hereby finds as follows:

       WHEREAS on February 14, 2017 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under Chapter 11, Title 11, United States Code (the “Bankruptcy Code”) in the

United States Bankruptcy Court for the Northern District of Georgia, Atlanta Division (the

“Court”).

       WHEREAS the Debtor continues to operate its businesses as a debtor-in-possession

pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.
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       WHEREAS prior to the Petition Date, Donlen entered into the following executory

contracts and/or unexpired leases with the Debtor:

       (i)     Master Motor Vehicle Lease Agreement dated October 28, 2013 (the “Lease”);

       (ii)    Master Services Agreement dated October 28, 2013 (the “Services Agreement”);
               and

       (iii)   Security Agreement dated October 28, 2013 (the “Security Agreement”).

The foregoing agreements are collectively referred to as the “Donlen Contracts”.

       WHEREAS as of the Petition Date, Donlen asserts that the Debtor was obligated to Donlen

in the approximate amount of $314,265.30 (the “Donlen Claim”) representing unpaid rental under

the Lease for the months of January and February of 2017, as well as non-rental payments under

the Services Agreement due for the week prior to the Petition Date.

       WHEREAS Donlen asserts that the portion of the February rental invoice attributable the

portion of that month subsequent to the Petition Date (February 14 through February 28) is

properly classified as a Chapter 11 administrative expense of the estate as it represents a reasonable

and necessary charge for the Debtor’s post-petition use of the leased vehicles. Deducting one half

of the February lease payment from the Donlen Claim results in an asserted post-petition

administrative claim of $79,916.57 (the “Donlen Post-Petition Stub Claim”) and an asserted pre-

petition claim of $234,348.73 (the “Donlen Pre-Petition Claim”).

       WHEREAS on March 9, 2017, the Debtor filed the Cure Motion which identified certain

executory contracts to be assumed and assigned by the Debtor in conjunction with the Sale Motion.

       WHEREAS the Donlen Contracts were not identified in the Cure Motion as contracts to

be assumed and assigned by the Debtor.

       WHEREAS the Court entered an Order on March 17, 2017 [Docket No. 80] (the “Sale

Order”) granting the Sale Motion and the Cure Motion.



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       WHEREAS since the filing of the Cure Motion the parties have conferred and reached an

agreement whereby the Debtor will assume the Donlen Contracts, consensually modified as set

forth herein, and assign same to the Purchaser in conjunction with the sale of its assets to the

Purchaser.

       NOW, THEREFORE, IT IS STIPULATED as follows:

       1.      Pursuant to Section 365(a) and (b) of the Bankruptcy Code, the Sale Order and this

Stipulation, the list of contracts appended to the Cure Motion is hereby amended to add the Donlen

Contracts and are hereby assumed by the Debtor, modified only as set forth in Paragraph 2 of this

Stipulation, and assigned to the Purchaser, contingent upon and effective as of the closing of the sale

of the Debtor’s assets to the Purchaser (the “Closing Date”).

       2.      As of the Closing Date and upon effectiveness of the assumption and assignment,

the Lease is modified as follows:

       (i)     In terms of cure, as to the Donlen Pre-Petition Claim, Donlen shall not receive any
               funds from the proceeds of sale and/or otherwise from the Purchaser; rather, Donlen
               shall be authorized, entitled and empowered to apply the security deposit in its
               possession in the amount of $175,000 towards the Donlen Pre-Petition Claim.
               Donlen shall retain the right to file a pre-petition unsecured proof of claim for the
               balance of the Donlen Pre-Petition claim remaining after application of the security
               deposit.

       (ii)    Contingent upon the closing of sale to the Purchaser and the effectiveness of the
               assumption and assignment, Donlen has agreed to reduce its Post-Petition Stub
               claim to $30,000 which, together with any other unpaid post-petition charges under
               the Lease and Services Agreement attributable to the period from the Petition Date
               through the Closing Date, shall be paid by the Purchaser pursuant to Section 2.1.1(c)
               of the Asset Purchase Agreement attached to the Sale Motion as an assumed
               Chapter 11 administrative obligation of the estate. To the extent the contemplated
               sale to the Purchaser does not close, or the assumption and assignment of the
               Donlen Contracts to the Purchaser does not become effective, the Donlen Post
               Petition stub claim against the estate shall not be compromised or reduced by this
               Stipulation and Consent Order and Donlen shall retain the right to assert to said
               claim in full.

       (iii)   The assumed Lease will be consensually modified to reflect the revised pricing/cost
               terms as follows:


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                  The applicable interest rate under the Lease shall be reduced to Donlen
                Commercial Paper +50 basis points.

                  The Administrative Fee under the Lease shall be set at .07%.

                   The Depreciation Factor for vehicles of Model Year 2013 shall be reduced to
                1.67%.

                   The Depreciation Factor for vehicles of Model Year 2016 shall be reduced to
                2.00%.

                    The Depreciated Value for each vehicle under the Lease shall equal the
                capitalized cost for each vehicle less the sum equal to the depreciation percentage
                of the capitalized cost for such vehicle for each full calendar month from the Rental
                Start Date though the Petition Date computed for payments actually received by
                Donlen from the Debtor on or prior to the Petition Date.

        3.      Upon the Closing Date and the effectiveness of the assumption and assignment, the

Purchaser shall be responsible for payment and performance under the Donlen Contracts on a going

forward basis. Donlen and the Purchaser (or its designee) may, at their election, execute new and

revised agreements reflecting the modifications set forth in this Stipulation.

        4.      Except as expressly provided by this Stipulation nothing in this Stipulation shall be

deemed as a waiver by Donlen, the Debtor or the Purchaser of any rights under the Donlen Contracts

or waive any obligation under the Donlen Contracts, including, without limitation, any default or

indemnification obligation under same whether said default(s) or indemnification obligation are

known or unknown and regardless of whether they are the subject of outstanding default or

indemnification notice(s).

        5.      The terms and provisions of this Stipulation shall be binding upon any trustee and/or

committee which may be appointed in the Debtor’s bankruptcy proceedings and shall survive any

dismissal of the bankruptcy case.




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       AGREED, STIPULATED AND SUBMITTED BY:

       This 21st day of March, 2017.

 SCROGGINS AND WILLIAMSON P.C.                     LECLAIR RYAN
 Attorneys for Debtor/Debtor-In-Possession         Attorneys for Donlen Corporation and
                                                   Donlen Trust


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